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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION


UNITED STATES OF AMERICA,                           CR 21–18–BU–DLC

              Plaintiff,

       vs.                                                   ORDER

ADRIAN GUTIERREZ and
GERARDO GUTIERREZ,

              Defendants.


      Before the Court is United States Magistrate Judge Kathleen L. DeSoto’s

findings and recommendations as to the guilty pleas of both Adrian Gutierrez and

Gerardo Gutierrez. (Docs. 68; 70.) Because no party objected, the Court will not

review the matter de novo. 28 U.S.C. § 636(b)(1); United States v. Reyna-Tapia,

328 F.3d 1114, 1121 (9th Cir. 2003). Instead, the Court reviews the findings and

recommendations for clear error. McDonnel Douglas Corp. v. Commodore Bus.

Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981). Clear error exists if the Court is

left with a “definite and firm conviction that a mistake has been committed.”

United States v. Syrax, 235 F.3d 422, 427 (9th Cir. 2000).

      Both Adrian Gutierrez and Gerardo Gutierrez are charged by superseding

information with possession with the intent to distribute methamphetamine, in

violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2. (Doc. 47.) Judge DeSoto
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recommends that this Court accept their respective guilty pleas to this charge after

they appeared before her pursuant to Federal Rule of Criminal Procedure 11.

(Docs. 68; 70.) The Court finds no clear error in Judge DeSoto’s findings and

recommendations and adopts them in full, including the recommendation to defer

acceptance of the any plea agreements until sentencing when the Court will have

reviewed them, and any presentence investigation reports. In light of the United

States motion preliminary order of forfeiture (Doc. 72), the Court will address the

issue of forfeiture by separate order.

      Accordingly, IT IS ORDERED that Judge DeSoto’s findings and

recommendations (Docs. 68; 70) are ADOPTED in full.

      IT IS FURTHER ORDERED that Adrian Gutierrez’s and Gerardo

Gutierrez’s motions to change plea (Docs. 41–42) are GRANTED.

      IT IS FURTHER ORDERED that Adrian Gutierrez and Gerardo Gutierrez

are adjudged guilty as charged in the superseding information.

      DATED this 3rd day of December, 2021.




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